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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

AFL-CIO, et al.,
Plaintiffs,
Vv. ‘Case No. 1:25-cv-00339

DEPARTMENT OF LABOR, et al,

Defendants.

[PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION
FOR EXPEDITED DISCOVERY

This matter comes before the Court on Plaintiffs’ Motion for Expedited Discovery. Based
on the reasoning and points of authority contained therein, the Court will GRANT Plaintiffs’
Motion.

It is SO ORDERED.
DATED this _ day of February, 2025.

Hon. John D. Bates
United States District Judge
